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                                                             U.S. Department of Justice
                                                             United States Attorney
                                                             Southern District of Ohio
                                                             Federal Building                    Telephone 937-225-2910
                                                             200 West Second Street, Suite 600   Fax 937-225-2564
                                                             Dayton, Ohio 45402



                                                             March 8, 2023


VIA CERTIFIED MAIL/RETURN RECEIPT
& Regular U.S. Mail

Ryan Westendorf

Troy, OH

        Re:     Notice of Third-Party Petitioner Procedures for Property Forfeited
                in United States v. William Sidney Hitchings V, Case No. 3:21-CR-061

                Deadline for Filing a Third-Party Petition: Thirty (30) Days from Your
                Receipt of This Notice

To Whom It May Concern:

        The United States District Court for the Southern District of Ohio has ordered that certain
property be forfeited to the United States. The enclosed Preliminary Order of Forfeiture and Notice
of Forfeiture further describe the property subject to forfeiture (the “subject property”) and the
procedure for filing a petition with the court for a hearing to adjudicate the validity of any alleged
interest in the subject property.

        You are hereby given notice of the forfeiture of the subject property and of your right to
assert an interest in the property. This Notice is intended only to inform you of your rights. Receipt
of this Notice in no way is intended to imply that the United States believes you have a valid
interest in the subject property.

        The procedure for filing a petition is set forth more fully in 21 U.S.C. § 853(n). Under 21
U.S.C. § 853(n)(2), any person, other than the defendant, asserting a legal interest in the subject
property, who wishes to contest the forfeiture of the property must, within thirty (30) days of
receipt of this letter, file a petition in the United States District Court for the Southern District of
Ohio for a hearing to adjudicate the validity of the alleged legal interest in the subject property.




                                                                                                 Exhibit 1
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       Any petition filed by a third party shall be signed by the petitioner under penalty of perjury
and shall set forth the nature and extent of the petitioner’s right, title, or interest in the property;
the time and circumstances of the petitioner’s acquisition of the right, title, or interest in the
property; any additional facts supporting the petitioner’s claim; and the relief sought.

        Your petition must be filed under the above case name and number in the United States
District Court for the Southern District of Ohio, with a copy to the undersigned attorney for the
United States. The address of the Clerk, with whom you must file any petition, and the address of
my office, to which you must send to my attention a copy of anything you file with the Clerk,
appear in the enclosed Notice of Forfeiture.

                                                       Very truly yours,

                                                       KENNETH L. PARKER
                                                       United States Attorney

                                                       Christina Mahy/jjf

                                                       Christina Mahy
                                                       Assistant United States Attorney

CM/jjf

Enclosures
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        :       Case No. 3:21-cr-061

                 Plaintiff,                      :       Judge Thomas M. Rose

       v.                                        :

WILLIAM SIDNEY HITCHINGS V,                      :

                 Defendant.                      :


                                 NOTICE OF FORFEITURE

       Notice is hereby given that on August 10, 2022, in the above case name and number, the

United States District Court for the Southern District of Ohio entered an Order, under 18 U.S.C.

§ 2253(a)(1) and (3), condemning and forfeiting the following (hereinafter the “subject property”):

            1)     Thinkpad Laptop Base S/N: PC-08FCJQ with Micro SD San Disk Ultra 64GB
                   S/N: 2414DGZ470MS;

            2)     Motorola motoZ3, IMEI: 3555 5009 5208 307 64 GB Internal, 197 GB
                   Portable;

            3)     ONN thumb drive ONA19DS004;

            4)     One Toshiba Disk Drive SN: Y4FMT8HLT OOA HDKGB13TSA01T with
                   metal hardware;

            5)     iOmega Network Storage Device S/N: CED2490791;

            6)     Google Home Device Model H1A with Power Cord;

            7)     WD SATA Drive, Model: WD5000AAKX-60U6AA0, S/N: WCC2EAHA3386,
                   Capacity: 500GB;

            8)     WD SATA Drive, Model: WD10EURX-73FH1Y0 S/N: WCC1U0988844
                   Capacity: 1.0 TB;

            9)     WD SATA Drive, Model: WD10EURS-630AB1 S/N: WCAV5V692091;
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       10) WD SATA Drive, WD10EFRX-68PJCN0 S/N: WCC4J1133404 Capacity: 1
           TB;

       11) Four (4) Thumb drives: one Lexar 32GB thumb drive; one Lexar 32 GB thumb
           drive; one red in color thumb drive; one SanDisk Ultra 32 GB thumb drive;

       12) Seagate Backup Plus 1TB hard drive S/N: NA9M29DL with blue cord;

       13) LG-V521 Gold in color with nano SIM and micro SD card inside;

       14) WD Purple WD40PURX hard drive 4 TB S/N: WCC4E1LH1KSC;

       15) 32 GB micro SD card Gigastone;

       16) Thirteen (13) SD cards and three (3) San Disc Adapters;

       17) Fourteen (14) USB drives;

       18) Black and Blue Datto Atto 3 S/N: G181000005131;

       19) Black Lenovo laptop IMEI: 351826060094854 Serial PF-02XP8C14-07 with
           cord;

       20) HP Pavilion 21 Touchsmart All-in-One PC, Model 21- h116 S/N:
           5CM42201RG and power cord;

       21) 500 GB Western Digital HOD Encryped Model: WD5000AAKX S/N:
           WCC2EPF07816;

       22) Lenovo Think Pad, Model T480 S/N: PF-1KAAGT, containing a Micro
           SanDisk SD card, S/N: 6041DLETV14A;

       23) Orico External Hard Drive Enclosure Model: NS800C3; containing seven HDD;
           connected to Lenovo Laptop;

       24) Zotac Mini PC Model ZBOX-CA320NANO-P S/N: G143300002045;

       25) Synology Disk Station Model D5111 S/N: B7H3N01107;

       26) Synology Disk Station Model D5111 S/N: B1H3N00531;

       27) HP Computer S/N: 2UA5350BD6;

       28) Buffalo Terastation PN Model TS-R12.0TGL/R5 S/N: 95823691100022;

       29) Hikvision DS-7608NI-E2/8P S/N: 560193751;
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            30) IBM System Storage (Model: XSC20083D) SN/1D: A1077RO;

            31) HP PROLIANT DL360 G7, S/N: MXQ03201YT;

            32) HPAJ941A server S/N: CN8037P044;

            33) HPAJ941A server S/N: 7CE345P00T;

            34) HPAJ941A server S/N: 7CE538P1XL;

            35) HPAJ941A server S/N: CN8120P11S; and

            36) HP Blue Iris server S/N: USE211Y62A.

        The United States gives notice of its intent to forfeit any right, title, or interest in the subject

property and to dispose of the property in such manner as the Attorney General may direct. Any

person claiming a legal right, title, or interest in the forfeited property must file a petition, pursuant

to 21 U.S.C. § 853(n), within thirty (30) days of receipt of this notice, requesting a hearing to

adjudicate the validity of his/her alleged interest in the property. If a hearing is requested, it shall

be held before the Court alone, without a jury. Petitioners will bear the burden of proof in all such

cases. Petitions that fail to allege an interest sufficient to maintain a claim under 21 U.S.C.

§ 853(n) shall be subject to dismissal without a hearing.

        The petition shall be signed by the petitioner under penalty of perjury and shall identify the

property in which the petitioner claims a legal right, title or interest; the nature and extent of the

right, title or interest in the property; the time and circumstances of the petitioner’s acquisition of

the right, title and interest in the property; and any additional facts and documents supporting the

petitioner’s claim and the relief sought. Corporate persons may only file petitions if represented

by counsel.

        A hearing on the petition shall, to the extent practicable and consistent with the interests of

justice, be held within thirty (30) days of the filing of the petition. The Court may consolidate the
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hearing on the petition with a hearing on any other petition filed by a person other than the

defendant named above. The petitioner may testify and present evidence and witnesses on his/her

own behalf and cross-examine witnesses who appear at the hearing.

       Your petition must be filed with the United States District Court for the Southern District

of Ohio in Case No. 3:21-cr-061 at the following address:

                         United States District Court
                         702 Federal Building
                         200 W. Second Street
                         Dayton, Ohio 45402

       Furthermore, you must serve the United States Department of Justice with your petition at

the following address:

                         Christina Mahy
                         Assistant United States Attorney
                         United States Attorney’s Office
                         600 Federal Building
                         200 W. Second Street
                         Dayton, Ohio 45402

       IF YOU FAIL TO FILE A PETITION TO ASSERT YOUR RIGHT, TITLE OR

INTEREST IN THE ABOVE-DESCRIBED PROPERTY WITHIN THIRTY (30) DAYS OF

RECEIPT OF THIS NOTICE, YOUR RIGHT, TITLE AND INTEREST IN THIS

PROPERTY SHALL BE LOST AND FORFEITED TO THE UNITED STATES. THE

UNITED STATES THEN SHALL HAVE CLEAR TITLE TO THE SUBJECT PROPERTY

AND DISPOSE OF THE PROPERTY IN ACCORDANCE WITH THE LAW.
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